Case 1:20-cv-25022-KMM Document 190 Entered on FLSD Docket 10/19/2021 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 1:20-civ-25022-KMM

    GHADA OUEISS,

                          Plaintiff,

    v.

    MOHAMMED BIN SALMAN BIN ABDULAZIZ AL
    SAUD, MOHAMMED BIN ZAYED AL NAHYAN,
    DARKMATTER, FAISAL AL BANNAI, SAUDI 24 TV,
    A BROADCAST TELEVISION STATION OWNED BY
    THE KINGDOM OF SAUDI ARABIA, AL ARABIYA, A
    BROADCAST TELEVISION STATION OWNED BY
    THE KINGDOM OF SAUDI ARABIA, PRINCE
    MOHAMMED        BIN  SALMAN     ABDULAZIZ
    FOUNDATION D/B/A MISK FOUNDATION, SAUD AL
    QAHTANI BADER AL-ASAKER, SAUDI ARABIAN
    CULTURAL MISSION, TEREK ABOU ZEINAB,
    TURKI AL-OWERDE, FAISAL AL MENAIA, AWWAD
    AL OTAIBI, SHARON COLLINS, CHRISTANNE
    SCHEY, HUSSAM AL-JUNDI, ANNETTE SMITH,
    JOHN DOES 1-20,

                      Defendants.
    ________________________________________

       MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF OF ELECTRONIC
     FRONTIER FOUNDATION IN SUPPORT OF PLAINTIFF AGAINST DEFENDANT
                    DARKMATTER’S MOTION TO DISMISS


          Non-party Electronic Frontier Foundation (EFF) seeks leave to file the amicus curiae

   brief attached to this motion in support of Plaintiff against Defendant DarkMatter’s Motion to

   Dismiss, ECF 165. Plaintiff consents to the filing of the amicus brief. Defendant DarkMatter

   does not consent to the filing of the amicus brief.




                                                     1
Case 1:20-cv-25022-KMM Document 190 Entered on FLSD Docket 10/19/2021 Page 2 of 4




                                      MEMORANDUM OF LAW

          This Court has the inherent authority to allow an amicus curiae to participate and

   assist the Court. Resort Timeshare Resales, Inc. v. Stuart, 764 F. Supp. 1495, 1500 (S.D. Fla.

   1991) (citations omitted). EFF’s amicus brief will provide useful assistance to this Court at

   this early stage of the case, where briefing on Defendants’ Motions to Dismiss has just been

   completed. News & Sun-Sentinel Co. v. Cox, 700 F. Supp. 30, 31 (S.D. Fla. 1988) (denying

   motion for leave to file amicus brief, where motion was filed two weeks after completion of

   trial). EFF respectfully requests to file the amicus brief attached to this motion.

          EFF is a San Francisco-based, member-supported, nonprofit civil liberties organization

   that has worked for over 30 years to protect free speech, privacy, security, and innovation in

   the digital world. With over 38,000 members, and harnessing the talents of lawyers, activists,

   and technologists, EFF represents the interests of technology users in court cases and policy

   debates at the local, national, and international levels regarding the application of law to the

   Internet and other technologies.

          Before this Court, among many issues related to the Motions to Dismiss, is the

   question of whether Defendant DarkMatter, a private technology company based in the United

   Arab Emirates (U.A.E.), should be granted foreign sovereign immunity for, according to

   Plaintiff, hacking into Plaintiff’s mobile device at the behest of the Crown Prince of Saudi

   Arabia in political retaliation for her work as a journalist. See Am. Compl., ECF 135, ¶ 123;

   Def. DarkMatter MTD Br., ECF 165, 17-19.

          EFF has a strong interest in ensuring that the law provides accountability for

   corporations that assist foreign governments (or those individuals in power, such as the Crown

   Prince) in violating human rights. EFF supports the arguments of Plaintiff against granting



                                                     2
Case 1:20-cv-25022-KMM Document 190 Entered on FLSD Docket 10/19/2021 Page 3 of 4




   foreign sovereign immunity to DarkMatter. See Pl. MTD Op. Br., ECF 172, 18-26.

          EFF writes separately to provide this Court with a global context for this case.

   DarkMatter is one player in a global cybersurveillance industry that has avoided

   accountability for facilitating human rights abuses by foreign governments—as chronicled by

   journalists, civil society organizations, and international bodies such as the United Nations

   and the Organization for Economic Cooperation & Development.

          This case is not just a dispute between a journalist and her political opponents.

   Whether DarkMatter is granted foreign sovereign immunity will have profound implications

   for millions of Internet users and members of civil society in countries around the world who

   are victims of human rights abuses powered by private cybersurveillance companies that make

   billions of dollars while operating with impunity. The Court’s decision on this issue—and the

   message it sends as to whether U.S. courts may be an avenue for accountability—will not only

   impact DarkMatter and its potential future hacking victims, but hundreds of other technology

   companies and their would-be targets.

          And the human rights issue is not simply the unauthorized access to digital data. In

   Plaintiff’s case, the hack she suffered was an apparent attempt to retaliate against and discredit

   her for her critical reporting. See, e.g., Am. Compl., ECF 135, ¶¶ 28, 64. But the private

   technology companies that partner with repressive regimes not only invade victims’ privacy

   and chill their freedom of speech and association; private technology companies also often

   provide amoral government officials with the data they need to effect unlawful arrest and

   detention, torture, disappearances, and even summary execution.

          Victims of human rights abuses enabled by powerful technologies—such as Ms.

   Oueiss here—must have the ability to reach the merits of their civil suits in U.S. courts



                                                    3
Case 1:20-cv-25022-KMM Document 190 Entered on FLSD Docket 10/19/2021 Page 4 of 4




   against corporate defendants. Given the dearth of accountability mechanisms for corporations,

   this Court should not expand the ability of technology companies like DarkMatter to avoid

   accountability for facilitating human rights abuses by foreign governments.

                       LOCAL RULE 7.1 CERTIFICATE OF GOOD FAITH

           Counsel for EFF has conferred with all parties or non-parties who may be affected by the

   relief sought in the motion in a good faith effort to resolve the issues raised in the motion and has

   been unable to do so. Defendant DarkMatter’s counsel James Tysse informed EFF attorney

   Mukund Rathi via email on October 8, 2021 that “our client opposes your requested relief and

   reserves the right to file a response.”


   Dated: October 19, 2021                           Respectfully submitted,

                                                     SHULLMAN FUGATE PLLC

                                                     Deanna K. Shullman__________
                                                     Deanna K. Shullman (FBN 514462)
                                                     2101 Vista Parkway, Suite 4006
                                                     West Palm Beach, FL 33411
                                                     dshullman@shullmanfugate.com
                                                     Tel.: (561) 429-3619

                                                     and

                                                     Sophia Cope
                                                     (pro hac vice admission pending)
                                                     Mukund Rathi
                                                     (pro hac vice admission pending)
                                                     Electronic Frontier Foundation
                                                     815 Eddy Street
                                                     San Francisco, CA 94109
                                                     sophia@eff.org
                                                     mukund@eff.org
                                                     Tel.: (415) 436-9333
                                                     Fax: (415) 436-9993

                                                     Counsel for Amicus Curiae
                                                     Electronic Frontier Foundation



                                                     4
